                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



 D.V.D.; M.M.; E.F.D.; and O.C.G.,
                                                             Case No. 25-cv-10676
              Plaintiffs,

                   v.
                                                             [PROPOSED] ORDER
 U.S. DEPARTMENT OF HOMELAND SECURITY;                       GRANTING PLAINTIFFS’
 Kristi NOEM, Secretary, U.S. Department of                  EMERGENCY MOTION FOR
 Homeland Security, in her official capacity; Pamela         TEMPORARY RESTRAINING
 BONDI, U.S. Attorney General, in her official               ORDER AND PRELIMINARY
 capacity; and Antone MONIZ, Superintendent,                 INJUNCTION AND STAY OF
 Plymouth County Correctional Facility, in his official      ADMINISTRATIVE ACTION
 capacity,

               Defendants.



       THIS MATTER comes before the Court on Plaintiff D.V.D., M.M., E.F.D., and O.C.G.’s

Motion for a Temporary Restraining Order and Preliminary Injunctive Relief. Having considered

the motion, the memorandum and exhibits in support thereof, and any subsequent submissions

related to the motion, the Complaint, the concurrently filed motion for class certification, and the

applicable law, the Court ORDERS as follows:


   1. Plaintiffs’ Motion for a Temporary Restraining Order is GRANTED.

   2. Defendants, and all of their officers, agents, servants, employees, attorneys, successors,

       assigns, and persons acting in concert or participation with them are hereby ENJOINED

       and RESTRAINED from:

           a. Removing Plaintiffs D.V.D., M.M., and E.F.D. from the United States to a third

               country, i.e., a country other than the country designated for removal in the prior

               immigration proceedings, UNLESS and UNTIL Defendants provide Plaintiffs

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          D.V.D., M.M. and E.F.D., and their respective counsel, with written notice of the

          third country to where they may be removed, and UNTIL Defendants provide a

          meaningful opportunity for Plaintiffs D.V.D., M.M. and E.F.D. to submit an

          application for protection, including withholding of removal under 8 U.S.C. §

          1231(b)(3) and protection under the Convention Against Torture (CAT) to the

          immigration court, and if any such application is filed, UNTIL Plaintiffs D.V.D.,

          M.M., and E.F.D. receive a final agency decision on any such application;

       b. Detaining Plaintiffs D.V.D. and M.M. pursuant to the February 18, 2025, DHS

          Directive (see Dkt. 1-4) instructing Department of Homeland Security (DHS)

          officers review for re-detention and removal to a third country noncitizens with a

          final order who previously could not be removed to the designated country either

          because they were granted withholding of removal and/or CAT protection, or

          because there was no significant likelihood of removal to the designated country

          in the reasonably foreseeable future;

       c. Preventing the return of Plaintiff O.C.G., and further, are ORDERED to facilitate

          the immediate return of O.C.G. to the United States. Defendants shall report back

          to the Court within 3 days of this Order with a status update as to Plaintiff O.C.G.

3. The Court further ORDERS that the proposed class be provisionally certified, having

   found that Plaintiffs have satisfied the requirements under Rule 23(a) and 23(b) in their

   motion for Class Certification, and ORDERS Defendants, and all of their officers, agents,

   servants, employees, attorneys, successors, assigns, and persons acting in concert or

   participation with them are hereby ENJOINED and RESTRAINED from:

       a. Removing members of the provisionally certified Class from the United States to



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              a third country, i.e., a country other than the country designated for removal in

              immigration proceedings, UNLESS and UNTIL Defendants provide provisionally

              certified class members, and their respective immigration counsel, if any, with

              written notice of the third country to where they may be removed, and UNTIL

              Defendants provide a meaningful opportunity for provisionally certified Class

              Members to submit an application for CAT protection to the immigration court,

              and if any such application is filed, UNTIL provisionally certified Class Members

              receive a final agency decision on any such application.

   4. The Court further ORDERS a TEMPORARY STAY pursuant to 5 U.S.C. § 705, of the

      February 18, 2025, DHS Directive instructing DHS officers to, inter alia, review for re-

      detention and removal to a third country noncitizens with a final order who previously

      could not be removed to the designated country either because they were granted

      withholding of removal and/or CAT protection, or because there is no significant

      likelihood of removal to the designated country in the reasonably foreseeable future.

   5. No security bond is required under Federal Rule of Civil Procedure 65(c).

   6. The parties shall, within 2 days of this Order, propose a briefing schedule with respect to

      Plaintiffs’ motion for preliminary injunctive relief. The hearing date shall be no later than

      fourteen days from today. At that time, the Court will schedule a hearing on Plaintiffs’

      motion for a preliminary injunction and a stay under 5 U.S.C. § 705.

   7. This Temporary Restraining Order and the Stay issued under 5 U.S.C. § 705 shall remain

      in effect until the Court rules on Plaintiffs’ motion for a preliminary injunction and

      further stay.

It is so ORDERED.



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DATED this ___________ day of _____________________, 2025.



                                      _________________________________________
                                      UNITED STATES DISTRICT JUDGE




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